Case 1:19-mj-05644-KMW Document 12 Filed 11/15/19 Page 1 of 1 PagelD: 25

AO 470 (Rev. 01/09} Order Scheduling a Detention Hearing

UNITED STATES DISTRICT COURT

for the
District of New Jersey

United States of America
¥

. Case No. 19-MJ-5644-KMW
RICHARD TOBIN

 

Nee ee ee ee

Defendant

ORDER SCHEDULING A DETENTION HEARING |

A detention hearing in this case is scheduled as follows:

 

 

 

Place: U.S. Distriet Court Courtroom No. 5¢
4th & Cooper Streets
Camden, NJ 08101 Date and Time: 12/2/19 2:00 pm

 

 

 

 

IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and

place set forth above.

 

ae ‘ :
J) Judge 's signature

Honcrable Karen M, Willlams, U.S.M.J.

 

 

Printed name and title

 
